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      UNITED STATES DISTRICT COURT
      SOUTHERN DISTRICT OF NEW YORK


                                                    Plaintiff,

       GEIGTECH EAST BAY LLC
                                                                     Case No.
                            -v-
                                                                           Rule 7.1 Statement
       LUTRON ELECTRONICS CO., INC.
                                                    Defendant.




                     Pursuant to Federal Rule of Civil Procedure 7.1 [formerly Local
     General Rule 1.9] and to enable District Judges and Magistrate Judges of the Court
     to evaluate possible disqualification or recusal, the undersigned counsel for
      GeigTech East Bay LLC                            (a private non-governmental party)

     certifies that the following are corporate parents, affiliates and/or subsidiaries of
     said party, which are publicly held.




      NONE.




              06/12/2018                                    /Jeffrey I. Kaplan/
     Date:
                                                         Signature of Attorney


                                                         Attorney Bar Code: 4706




Form Rule7_1.pdf SDNY Web 10/2007
